                         CASE 0:11-cv-01714-JNE-TNL Document 64 Filed 10/30/13 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                                 UNITED STATES DISTRICT COURT
                                                           District of Minnesota

Blazek Glass s.r.o, f/k/a J. Blazek SKLO
Podebrady s.r.o., and Mr. Dalibor Blazek,
                                                                      JUDGMENT IN A CIVIL CASE
                                                     Plaintiffs,

    V.
                                                                              Case Number: 11-1714 (JNE/TNL)
Top Notch Wellness Company, Richard Lloyd-
Roberts d/b/a Top Notch Wellness Company,
and Colleen Lloyd-Roberts d/b/a Top Notch
Wellness Company,

                                                    Defendants.


      Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
      has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:

      1. Plaintiffs’ Unopposed Motion to Dismiss with Prejudice [Docket No. 61] is GRANTED.

      2. This action is DISMISSED WITH PREJUDICE.

October 30, 2013                                                                 RICHARD D. SLETTEN, CLERK
Date
                                                                                          s/ M. Price
                                                                       (By)                     M. Price Deputy Clerk




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